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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Northern District
                                                    __________  District of
                                                                         of Georgia
                                                                            __________

  Jason Carr, Vicki LeMaster, Edward Ford Services                  )
   LLC, Carlton Morgan¸ 365 Sun LLC and Candice                     )
    Worthy, individually and on behalf of all others                )
                   similarly situated,                              )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:22-cv-1249
                                                                    )
             Kabbage, Inc. d/b/a K Servicing,                       )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kabbage, Inc. d/b/a K Servicing
                                           c/o Corporation Service Company, Registered Agent
                                           2 Sun Court, Suite 400
                                           Peachtree Corners, GA 30092




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: MaryBeth V. Gibson
                                           The Finley Firm, P.C.
                                           3535 Piedmont Road, Bldg 14, Suite 230
                                           Atlanta, Georgia 30305



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                KEVIN P. WEIMER
                                                                               CLERK OF COURT


Date:             03/30/2022                                                             s/Stephanie Wilson-Bynum
                                                                                         Signature of Clerk or Deputy Clerk
